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UNITED STATES DEPARTMENT OF JUSTICE
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                         UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF NEW JERSEY
______________________________
                                 :
In re:                           :     Chapter 11
                                 :
Nest Global Solutions, LLC,      :     Case No. 23-18405(JKS)
                                 :
Debtor.                          :     Judge: Honorable John K. Sherwood
______________________________:

               OBJECTION BY UNITED STATES TRUSTEE TO DEBTOR’S
            APPLICATION FOR RETENTION OF PROFESSIONAL TO RETAIN
                 WARREN LAW GROUP AS COUNSEL FOR DEBTOR

       The United States Trustee (the “UST”), by and through counsel, and in furtherance of his

duties pursuant to 28 U.S.C. § 586(a)(3) and (5), hereby objects to the Application of the above

referenced Debtor to retain the Warren Law Group (“Warren Law”) as bankruptcy counsel for

the Debtor, for the following reasons:

                                         BACKGROUND

       1.      On September 26, 2023, Nest Global Solutions, LLC, the above captioned Debtor

(the “Debtor”) filed a voluntary petition for relief under chapter 11 of Title 11 of the United

States Code, §§ 101 et seq. (the “Bankruptcy Code”). The Debtor has remained in possession of

its assets and financial affairs pursuant to sections 1107 and 1108 of the Bankruptcy Code.

       2.      On November 6, 2023, the Debtor filed the Application for Retention of
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Professional (docket entry 17) (the “Application”). By way of the Application, the Debtor

seeks approval for its retention of Warren Law as bankruptcy counsel in this pending chapter 11

case. Together with the Application, the Debtor filed the Addendum to Certification and

Disclosure Statement of Jorge R. Salva in Support of Application for Retention of Warren Law

Group (the “Salva Certification”).

        3.       The Salva Certification discloses that Warren Law is currently representing the

Debtor, and currently representing a number of insiders, as well as entities owned and/or

controlled by insiders, in connection with the Wage Cases1 as well as the ChainNinja Litigation.

                                                 OBJECTION

Review of Applicable Law:

        4.       Professionals for a bankruptcy estate must be committed to protecting the estate’s

interests and be free of the “interests of any other person” so that their “basic judgment and

responsibility to the estate” is not affected. See, In re Philadelphia Athletic Club, Inc., 20 B.R.

328, 337 (E.D. Pa. 1982). A professional “should not place himself in a position where he may

be required to choose between conflicting interests or duties.” See, id. See, e.g., In re 765

Assocs., 14 B.R. 449, 451 (Bankr. D. Hawaii 1981) (“[a]n attorney should not place himself in a

position where he may be required to choose between conflicting duties.”)

        5.       Under the clear language of 11 U.S.C. § 327(a), any professional employed by a

debtor-in-possession must be “disinterested” and neither hold nor represent an interest adverse to

the estate. See, 11 U.S.C. § 327(a). One court has described Section 327(a) as “a prophylactic

provision designed to insure that the undivided loyalty and exclusive allegiance required of a




1 Capitalized terms not otherwise defined herein shall have the meaning as ascribed in the Application.
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fiduciary to an estate in bankruptcy is not compromised or eroded.” See, In re Prudent Holding

Corp., 153 B.R. 629, 631 (Bankr. E.D.N.Y. 1993).

       6.      Section 101(14), in turn, defines “disinterested person” as a person who does not

have an “interest materially adverse to the interest of the estate or of any class of creditors or

equity security holders, by reason of any direct or indirect relationship to, connection with or, or

interest in, the debtor, or for any other reason.” See, 11 U.S.C. § 101(14).

       7.      Section 101(14)(C), referred to as the catch-all clause, “has been characterized as

broad enough to include anyone who in the slightest degree might have some interest or

relationship that would distract from the independent and impartial attitude which is required by

the [Bankruptcy] Code.” See, In re Glenn Elec. Sales Corp., 89 B.R. 410, 413 (Bankr. D.N.J.),

aff’d, 99 B.R. 596 (D.N.J. 1988); see, also, In re Black Hills Greyhound Racing Ass’n, 154 B.R.

285, 292 (Bankr. D.S.D. 1993).

       8.      Although not defined in the Bankruptcy Code, “adverse interest” has been

interpreted in this District to mean:

               (1) to possess or assert any economic interest that would tend to
               lessen the value of the bankrupt estate or that would create either
               an actual or potential dispute in which the estate is a rival claimant;
               or
               (2) to possess a predisposition under circumstances that render
               such a bias against the estate.

See, In re Glenn Elec. Sales Corp., 89 B.R. at 413 (quoting In re Star Broadcasting, Inc., 81 B.R.

835, 838 (Bankr. D.N.J. 1988)). In applying this definition, the court in In re Glenn Elec. Sales

Corp. relied upon a trilogy of cases published from the District of Hawaii dealing with conflict

of interests between debtors and counsel in bankruptcy proceedings.

       9.      The Third Circuit in In re Marvel Entertainment Group, Inc., 140 F.3d 463 (3rd

Cir. 1998), determined that the District Court applied the wrong legal standard in disqualifying
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trustee’s counsel under Sections 327(a) and 101(14)(E). The Third Circuit held that:

               (1) Section 327(a), as well as § 327(c), imposes a per se
               disqualification as trustee’s counsel of any attorney who has an
               actual conflict of interest; (2) the district court may within its
               discretion — pursuant to § 327(a) and consistent with § 327(c) —
               disqualify an attorney who has a potential conflict of interest and
               (3) the district court may not disqualify an attorney on the
               appearance of conflict alone.

See, id., at 476. Any professional person that does not meet both the “no adverse interest” and

“disinterested person” tests is disqualified from employment under Section 327(a). See, In re

BH&P Inc., 949 F.2d 1300, 1314 (3d Cir. 1991) (Section 327(a) “creates a two-part requirement

for retention of counsel”). Thus, a professional that holds or represents an adverse interest is

per se disqualified, and a professional that does not hold or represent an adverse interest is

nevertheless disqualified unless it falls within the definition of “disinterested person” set forth in

11 U.S.C. § 101(14). See, e.g., United States Trustee v. Price Waterhouse, 19 F.3d 138, 141 (3d

Cir. 1994)(disqualified because not disinterested); Michel v. Eagle-Picher Indus., Inc. (In re

Eagle-Picher Indus., Inc.), 999 F.2d 969, 972 (6th Cir. 1993) (can lack disinterestedness without

having adverse interest).

       10.     The dual representation of a corporation and its principal has been disfavored by

various courts. See, In re Straughn, 428 B.R. 618, 624 (Bankr. W.D. Pa. 2010); In re N. John

Conzolo Assoc., Inc., 423 B.R. 735. 737 (Bankr. W.D. Pa. 2010). See, also, In re Wynne

Residential Asset Mgmt., LLC, 2009 Bankr. LEXIS 4164 * 12 (Bankr. W.D.N.C. 2009)(stating

flatly that “[s]imultaneous representation of a DIP and its owner(s) or its management is not

permitted in Chapter 11”); In re BH&P Inc., 949 F.2d 1300 (3d Cir. 1991)(same Chapter 7

trustee could not serve as Chapter 7 trustee for a debtor corporation and its principals where both

filed Chapter 7 petitions); In re Star Broadcasting, Inc., 81 B.R. 835 (Bankr. D.N.J. 1998)(court
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denied same law firm from representing both a corporation and its sole shareholder who both

filed Chapter 11 petitions); In re Wiley Brown & Assocs., LLC, 2006 Bankr. LEXIS 1975 at * 12

(Bankr. M.D.N.C. 2006)(holding that conflict of interest precluded attorney from representing

both debtor and an owner of the debtor, due in part to fact that owner was guarantor of debtor’s

largest debts).2

         11.       In BH&P, the Third Circuit determined the bankruptcy court has discretion in

evaluating “multiple representation of related bankruptcy estates,” but “should generally

disapprove employment of a professional with a potential conflict, with certain possible

exceptions.” 949 F.2d at 1315-16. None of the exceptions apply here, which include when

every competent professional in a particular field is already employed by a creditor or a party in

interest in a large case or the possibility of a potential conflict becoming actual is remote. See,

id.

         12.       “Where there are numerous, apparent conflicts, even if the court were to give the

debtors and proposed counsel the benefit of every doubt, many courts conclude that the

cumulative effect of even ‘potential’ conflicts of interest are of such significance and scope that

the individual debtor and corporate debtor must each retain separate counsel.” See, In re

Bryant, 2011 Bankr. LEXIS 4651 * 6 and 7 (Bankr. E.D.N.C. 2011). See, also, In re Straughn,

428 B.R. at 627 (holding that the “efficiency and economy that may favor multiple




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  Multiple representations that may be allowed in commercial settings, especially with the informed consent of the
clients, may not be acceptable in bankruptcy. The Bankruptcy Code provisions dealing with conflicts of interest are
generally much stricter that the comparable rules of professional conduct. See, Hansen, Jones & Leta, P.C. v.
Segal, 220 B.R. 434 (D.Utah 1998) citing In re Amdura Corp., 121 B.R. 862, 866 (Bankr. D. Colo. 1990). Consent
by a Chapter 11 debtor to waive conflicts is insufficient to cure any actual or potential conflicts because the ultimate
parties in interest are the bankruptcy estate’s creditors. See, In re Jeep Eagle 17, 2009 Bankr. LEXIS 3614 * 5
(Bankr. D.N.J. 2009). See, also, In re Git-N-Go, Inc., 321 B.R. 54, 60 (Bankr. N.D. Okla. 2004)(finding that debtor
may not waive conflicts on behalf of the estate); In re Plaza Hotel Corp., 111 B.R. 882, 891 (E.D. Cal. 1990)(noting
that consent was product of same person “changing hats” and objection was raised which vitiated any consent).
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representation must yield to the competing concerns affecting fairness to all parties involved and

in protecting the integrity of the bankruptcy process”).

       13.     In the Straughn case, the Court found it difficult to imagine a situation that would

allow dual representation:

               [a]s a practical matter, given the nature of the relationship between
               a sole shareholder and the related corporation, it is difficult to
               imagine a situation where both parties in separate Chapter 11 cases
               could be represented by a single attorney. In most cases of this
               type, similar to the present situation, conflicts abound over issues
               such as the amount of the shareholder’s salary, the appropriate
               amount of rental payments between the parties, joint liabilities or
               liabilities for which the shareholder serves as coobligor or
               guarantor, a debtor-creditor relationship between the parties, or
               situations in which transfers between the parties have occurred
               prior to the filing date. These types of relationships require
               debtor’s counsel to analyze and ponder the effect of these actual
               and potential conflict situations in the bankruptcy context before
               the case is even filed. Where circumstances are presented that
               interfere with counsel’s exercise of independent judgment on
               behalf of client and creditors, the wise choice is not to assume a
               dual representation relationship.

See, Straughn, 428 B.R. at 627-28.

Objection Asserted:

       14.     In the present case, as disclosed in the Salva Certification, Warren Law is

currently representing the Debtor, and currently representing a number of insiders, as well as

entities owned and/or controlled by insiders, in connection with the Wage Cases and the

ChainNinja Litigation. Given such circumstances, Warren Law should not be allowed to

represent both the corporate Debtor before this Court, and the individual insiders, at the same

time. Such parties stand in adversity to each other, and may very well have adverse positions

against each other as co-defendants in the litigations identified. This puts Warren Law in
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conflict with the Debtor, as the firm has duties and obligations to competing interests in

connection with this case.

       15.     In sum, in reviewing the facts and circumstances presented in the instant matter,

together with the requirements of the Bankruptcy Code and the applicable case law, one law firm

cannot simultaneously represent both the corporate bankruptcy estate of the Debtor, and the

individual insiders, at the same time.

                                         CONCLUSION

       16.     For the foregoing reasons, the U.S. Trustee respectfully requests that the

Application be denied, and grant any other relief that the court deems just and equitable.

                                                     ANDREW R. VARA
                                                     UNITED STATES TRUSTEE
                                                     REGIONS 3 AND 9

                                                     /s/ Peter J. D’Auria
                                                     Peter J. D’Auria
                                                     Trial Attorney
DATED:       November 13, 2023
